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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION


In re:                                        Chapter 7

PRIORIA ROBOTICS, INC.,                       CASE NO: 18-10018-KKS

          Debtor.

                                          /

         MORGAN & MORGAN, P.A.’S APPLICATION FOR PAYMENT OF
                    ADMINISTRATIVE EXPENSES

            NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

       Pursuant to Local Rule 2002-2, the Court will consider the relief requested in
    this paper without further notice or hearing unless a party in interest files a
    response within 21 days from the date set forth on the proof of service plus an
    additional three days for service if any party was served by U.S. Mail, or such
    other period as may be specified in Fed. R. Bankr. P. 9006(f).

       If you object to the relief requested in this paper, you must file an objection or
    response electronically with the Clerk of the Court or by mail at 110 E. Park
    Avenue, Suite 100, Tallahassee, FL, 32301 and serve a copy on the movant’s
    attorney, Cory Simmons, 191 Peachtree Street NE, Suite 4200, Atlanta, GA 30303
    and any other appropriate person within the time allowed. If you file and serve a
    response within the time permitted, the Court will either schedule and notify you of
    a hearing or consider the response and grant or deny the relief requested without a
    hearing.

       If you do not file a response within the time permitted, the Court will consider
    that you do not oppose the relief requested in the paper, will proceed to consider
    the paper without further notice or hearing, and may grant the relief requested.

         COMES NOW Creditor, the Law Firm of Morgan & Morgan, P.A. (hereinafter

“Morgan & Morgan”) and, pursuant to and files this, its Application for Payment of

Administrative Expenses 11 U.S.C. § 503 and in support thereof states:
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       1.     Prior to the Petition Date, Condor Aerial, LLC (represented by Morgan &

Morgan) levied certain assets of the Debtor pursuant to writs of execution and levy issued

in the case styled Prioria Robotics, Inc. v. Condor Aerial, LLC and Fred Culbertson,

Case No.: 2015-0002544, in Alachua County, Florida (the “State Court Action”) on

January 19, 2018.

       2.     The Debtor then filed its Petition for Bankruptcy on January 29, 2018 (Doc.

1).

       3.     The levied property was initially stored at the Alachua County Sheriff’s

Office, and later at a private storage facility. At the time, Morgan & Morgan was in

discussions with the Chapter 7 Trustee to represent her in the pursuit of certain assets for

the Estate. Due to objections by certain insiders of the Debtor, the Trustee did not retain

Morgan & Morgan.

       4.     During the course of these discussions, Morgan & Morgan paid the

following amounts to preserve the property of the Debtor, which the Trustee now has

possession of:

              a. Two months’ rent of storage at the Alachua County Sheriff’s Office at a

                 rate of $901.98 for a total of $1,803.96;

              b. Two months’ rent at Hill’s Van Service at a rate of $312.00 plus a

                 warehouse access fee of $45.00 for the Department of Defense for a

                 total of $714.00;

              c. Retainer for DTIDATA, LLC in the amount of $6,000 for forensic

                 services to be performed on hard disks seized from the Debtor. Morgan

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                  & Morgan received explicit permission and authorization from the

                  Trustee to pay this amount;

       5.     Attached here as Exhibit “1” are the invoices, correspondences, and checks

that Morgan & Morgan issued for payment of these fees.


       WHEREFORE, the Law Firm of Morgan & Morgan, P.A. respectfully requests

that the Court allow of payment of $8,517.96 for unpaid fees and costs paid on behalf of

the Trustee as stated herein.


       Dated: March 20, 2020.


                                                 MORGAN & MORGAN, P.A.
                                                 Business Trial Group

                                                 s/ Cory S. Simmons
                                                 Cory S. Simmons
                                                 Florida Bar No. 42301
                                                 191 Peachtree Street NE, Suite 4200,
                                                 Atlanta, GA 30303
                                                 Telephone: (404) 965-1629
                                                 Facsimile: (404) 720-3782
                                                 Email: CSimmons@forthepeople.com
                                                 Email: TEdwards@forthepeople.com

                                CONSENT OF TRUSTEE

       Theresa M. Bender, the Chapter 7 Trustee, by the signature of the below attorney,

hereby consents to the relief requested in the Application for Payment of Administrative

Expenses and the form of the attached proposed order.

                                          /s/ Kevin A. Forsthoefel
                                          Kevin A. Forsthoefel
                                          Florida Bar No. 92382

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                                          Ausley McMullen
                                          123 South Calhoun Street (32301)
                                          Tallahassee, Florida 32302
                                          (850)224-9115; Fax (850)222-7560
                                          kforsthoefel@ausley.com
                                          Attorney for Theresa M. Bender,
                                          Chapter 7 Trustee


                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished via the CM/ECF System to those registered thereto in the above-styled bankruptcy

proceeding on this day March 20, 2020 and the following via electronic notice or by standard

first-class mail:

                                            By: s/ Cory S. Simmons

Jodi Daniel Dubose (jdubose@srbp.com)
Theresa m. Bender (tmbenderch7@gmail.com)
Cory Scott Simmons (csimmons@forthepeople.com)
Adrian C. Delancy (adelancy@mrthlaw.com)
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Ryan C. Reinert (rreinert@shutts.com)
U.S. Trustee Charles F. Edwards (Charles.edwards@usdoj.gov)
John Hatfield, via U.S. Mail at P.O. Box 140944, Gainesville, Florida 32614
Justin Dee, via U.S. Mail at 4127 NW 36th St., Gainesville, Florida 32605
Ashley E. Scannella, via U.S. Mail at 3812 NW 25th Ter., Gainesville, Florida 32605
Susan W. Scannella, via U.S. Mail at 9140 SW 48th Pl. Apt. B, Gainesville, Florida 32608
Randy Schonhoff, via U.S. Mail at P.O. Box 92, Port Royal, South Carolina 29935
John Kent, via U.S. Mail at P.O. Box 447, Jacksonville, Florida 32201
Boris Yaw, via U.S. Mail at 6823 SW 53rd Ave., Gainesville, Florida 32608
U.S. Trustee (USTPRegion21.TL.ECF@usdoj.gov)
Prioria Robotics, Inc., via U.S. Mail at P.O. Box 358920, Gainesville, Florida 32635-8920

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